 

 

UZBEKISTAN
airways

Seller: State committee of the Republic of Uzbekistan for
privatization, demonopolization and development
of competition

Purchaser

INVOICE Ne 2.2.1-2352

DATE: 01.11.2016

RUSAVIAINVEST, LTD.

 

 

 

 

 

 

 

 

 

 

 

 

ADDRESS: 55. Uzbekistan Ave., 100003 Tashkent, Uzbekistan ADDRESS 25. 1 Soviet side str., Shchelkovo.
141100 Moscow, Russia
Participant UZBEKISTAN AIRWAYS
ADDRESS 41, Amir Temur Ave., 100060, Tashkent , Uzbekistan
Please remit payment without deduction to the following bank account of the Participant ATTENTION: Director General
AccountNo. (USD) 20210840900596077030 A.K. Vorobyev
Account with: Central operation branch of the
National bank for Foreign Economic Activity
of the Republic of Uzbekistan
SWIFT CODE: NBFAUZ2X | BANK CODE: 00882
E-mail: fo@uzainways.com E-mail rusaviainvest@mail.ru
SUBJECT: AIRCRAFT QTY ia aaa VAT% | TOTALUSD
One Airbus Model A310 aircraft, Reg. No. UK 31003, MSN 706
Equipped with: two Pratt & Whitney model PW4152 engines MSN P724942
and P724943, and GTCP 331-250 APU P-1318 1 2 000 000,00 : 2 000 000,00
In accordance with the Agreement No. 2 on Sale-Purchase of Aircraft
dated October 27, 2016
c 2 000 000,00
Note Uzbekistan Airways has right to correct the invoice in case of disagree BAYS»
GENERAL DIRECTOR V.N. TYAN
FINANCIAL DIRECTOR A.A. SATTAROV

 

 
